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                  EXHIBIT 18
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                                                              ACN Opportunity, LLC
                                                              1000 Progress Place                        INDEPENDENT BUSINESS OWNER AGREEMENT
                                                              Concord, NC 28025-2449
                                                                                                          Office Use             Data Entry                              Date
                                                              Phone: 704-260-3226
                                                              Fax: 704-260-3652                           Only
                                                              Email: ACNRepEntryUS@acninc.com
                                                              www.acninc.com
PLEASE TYPE OR PRINT CLEARLY                                                                           (Circle One):
                                                                                                                                              Individual                           Company

APPLICANT INFORMATION                              LIST NAME OR COMPANY, NOT BOTH.
Last Name                          First Name                           Middle Initial     Home Telephone (with area code)         Social Security #                      Birth date of Applicant



Company Name (Proof of Company Name, Business Tax ID # or Employer ID # required)          Cellular Telephone (with area code)     Federal Tax I.D.# (if applicable)      Birth date of Principal



Mailing Address                                                                                 City			                                                    State		                       Zip Code



Email Address



SPONSOR INFORMATION
Last Name                          First Name                           Middle Initial     Telephone (with area code)                                                     Business ID



US TERMS AND CONDITIONS
I acknowledge that I have received and reviewed the ACN Independent Business Owner Agreement, including these US Terms and Conditions and the ACN Policies and Procedures and the
ACN Compensation Plan, which are hereby incorporated into and made part of this ACN Independent Business Owner Agreement by reference (collectively, the “Agreement”). By signing
below, I agree to comply with, and be bound by, the terms and conditions set forth in the Agreement.I acknowledge and agree that the Agreement will become a binding agreement upon
me and ACN Opportunity, LLC, a North Carolina limited liability company, only upon acceptance by ACN, and that ACN will notify me of acceptance of the Agreement via email to the email
address I submit with this Agreement. I understand that ACN has the right to accept or reject my application to become an Independent Business Owner (”IBO”) in its sole discretion. For
purposes of this Agreement, ACN Opportunity, LLC and its parents, subsidiaries and affiliates are referred to as “ACN”. I understand that there is no requirement beyond entering into this
Agreement and payment of the initial fee (which includes the purchase of a Team Trainer Kit which is sold at ACN’s cost) to become an IBO. No other purchase of sales or training materials
or other services are required to become an IBO and any purchase of sales aids, training materials or training is strictly voluntary. I understand that my advancement to higher qualification
levels in the ACN Compensation Plan is based upon the acquisition of customers and the usage by such customers of products and services offered by ACN (“ACN Products & Services”),
and that I am not obligated to purchase ACN Products and Services. I also understand that if I choose to sponsor others to become IBOs and participate in ACN’s Compensation Plan, I will
not receive any compensation whatsoever for the act of sponsoring or recruiting, and that I will be compensated based upon the activities of other IBOs only to the extent of sales made by
them to customers of ACN Products and Services.
1. I, the undersigned applicant, represent that I am of legal age to enter into legally binding agreements, and that the information submitted in connection with my application to become
an IBO is complete, true and correct. I agree to promptly notify ACN of any changes to such information. If I am executing this Agreement on behalf of a corporation, limited liability
company, partnership, trust or other entity, I represent that I have the authority to enter into such agreements for the entity, but nonetheless I agree that in addition to such entity, I will be
personally responsible for the performance of all the duties and obligations described in this Agreement.
                                                                                                                         PLEASE SEE PAGE 2 FOR ADDITIONAL TERMS & CONDITIONS
CANCELLATION
I may cancel this transaction, without penalty or obligation, for a full refund, within ten (10) business days from the date of this Agreement, exclusive of the date of signing. I understand
that if I cancel after the ten (10) day period, I am not entitled to a full refund. This limitation is not applicable in Georgia or where superseded by any state law. If I cancel within the ten (10)
business days from the date of this Agreement, any payments made by me under this Agreement and any instrument executed by me will be returned within fifteen (15) business days
following receipt by ACN of my Cancellation Notice. If I cancel, I will return any literature or materials I have received from ACN in substantially as good condition as when received. To
cancel this Agreement, I must deliver personally or via courier or by registered or certified mail return receipt requested, a written, signed, dated copy of a Notice of Cancellation to: ACN
Opportunity, LLC, 1000 Progress Place, Concord, NC 28025 Attn: FSS Research. Where applicable state law on cancellation is inconsistent with ACN policy, such state law shall be in force.

ACCEPTANCE AND PAYMENT
 $499 TEAM TRAINER
By signing below, I authorize ACN to charge the credit card listed below.

Select payment method:  Personal Check (make payable to ACN)                          Cashier’s Check  Money Order  American Express, Discover, Master Card or Visa
Credit Card Account Number                                                                            Expiration Date


When you provide a check as payment, you authorize us either to use the information from your check to make a one-time electronic fund transfer from your account or to process the
payment as a check transaction. When we use this information from your check to make an electronic fund transfer, funds may be withdrawn from your account as soon as the same day
you make your payment, and you will not receive your check back from your financial institution. In the event that your check is returned unpaid for insufficient or uncollected funds, we
may electronically debit your account for the principal amount of the check.
I verify that I have carefully reviewed and fully understand ACN’s income opportunity presentation materials, which can be found on The ACN Opportunity Dual Disc, www.acninc.com or
www.acnintegrity.com. I acknowledge that ACN has a global commitment to integrity, and as an ACN Independent Business Owner, it is my responsibility to uphold this commitment and
always operate my business the right way.
Yes, I want to become an Independent Business Owner. Neither I, nor my spouse/life partner (unless they are my sponsor), have had any other interest and/or benefit in any other ACN IBO position
within the 12 months prior to the effective date of this Agreement. I have read and agree to be bound by all of the terms and conditions of this Agreement, including the US Terms and Conditions,
the ACN Policies and Procedures, and the ACN Compensation Plan, all of which are incorporated into this Agreement and are available for me to review, store, or print at www. acninc.com

       					                                                                ACCEPTED AND AGREED:
         I prefer my kit in the following language (choose one)               Applicant’s Signature                                                               Date

                English Kit  Spanish Kit 
                                                                              Applicant’s Printed Name
              Kit Received:           Yes           No
Your Business ID number is: ______________________
                                                                                                                                                               ACN Opportunity, LLC 2013 US_IBO_RP_W_011513
                                  Casematerials,
2. I agree to timely pay for any products,     1:18-cv-09936-LGS-SLC
                                                      services or other items that I purchase from ACN. InDocument
                                                                                                           the event       66-26
                                                                                                                     13. OTHER     THAN THEFiled RETURN 01/14/19
                                                                                                                                                            RIGHTS DESCRIBED HEREIN, Page         3 of
                                                                                                                                                                                             ACN AND   ACN3PROVIDERS MAKE NO EXPRESS
that I am delinquent with respect to such payments, I acknowledge that ACN may offset such debt from any             WARRANTIES, AND THERE ARE NO IMPLIED WARRANTIES. EXPRESSLY EXCLUDED ARE ALL WARRANTIES OF
commissions, bonuses, or other compensation earned through the ACN Compensation Plan, or any other monies            MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE. NO ORAL OR WRITTEN INFORMATION OR ADVICE
owing to me (“ACN Payments”).                                                                                        GIVEN BY ACN, ANY ACN PROVIDER, OR THEIR AGENTS OR EMPLOYEES WILL CREATE A WARRANTY OR IN ANY WAY
                                                                                                                     INCREASE THE SCOPE OF THE FOREGOING WARRANTY.
3. I agree that as an IBO, I am an independent contractor responsible for my own business and not an agent, legal
representative or employee of ACN or any carrier, supplier, service provider or other party with whom ACN transacts  14. ACN shall periodically make various sales literature, promotion materials, training and other products or
or contracts business (“ACN Providers”). I acknowledge that my IBO relationship is with ACN Opportunity, LLC and     services available for my use in conducting my business as an IBO. I, however, am under no obligation to purchase
not with any ACN Provider. I understand that as an IBO, I am free to select my own means, methods and manner         any quantities of those materials or services at any time. Rather, I will have the option to order and purchase any
of operation and that I am free to choose the hours and location of my activities under this Agreement, subject      materials or services which I may choose. If I choose to purchase such materials then I may return any unused,
only to the terms of this Agreement. I shall have no power or authority to bind ACN, either directly or indirectly,  unopened and currently marketable items for up to one year and receive a refund of 90% of the purchase price. I
and I will not take any action inconsistent with this limit of authority, including representing in any manner that  will be responsible for the cost of shipping said materials to ACN.
I am an agent, representative, legal representative or employee of ACN or any ACN Provider. I acknowledge that
                                                                                                                     15. I acknowledge that I have the right to sign up as many personal customers as I wish. For each personal
as an independent contractor I am not entitled to holidays, vacations, disability, insurance, pensions or retirement
                                                                                                                     customer signed, I will be eligible to receive a commission from my personal customers’ usage payments for ACN
plans, or any other benefits offered or provided by ACN to its employees. I understand that I am solely responsible
                                                                                                                     Products and Services and from usage payments from personal customers in my network of IBOs in accord with
for remitting any taxes and obtaining any business licenses or insurance required by regulations or authorities to
                                                                                                                     the currently valid ACN Compensation Plan. I understand that eligibility to receive ACN Payments is conditioned
conduct my business. I acknowledge and agree that I will not be treated as or represent myself as an employee for
                                                                                                                     upon being an active IBO with a valid Agreement in effect on the date such compensation is scheduled to be paid.
purposes of any federal, state or local statute, regulation, ordinance or other law.
                                                                                                                     ACN reserves the right to vary or change eligibility as set out in the ACN Compensation Plan. Any other payments
4. I may terminate this Agreement for any reason, at any time, by giving ACN prior written notice at its address     I receive will be based upon fulfilling certain terms of qualification as set forth by the ACN Compensation Plan. I
of record. ACN may terminate this Agreement pursuant to the ACN Policies and Procedures or in the event that I       agree that as an ACN IBO, I shall place primary emphasis upon the sale of ACN Products and Services to customers.
breach any part of this Agreement. Upon my request following termination of this Agreement within one (1) year       Under certain circumstances, commission rates may be adjusted for promotional products or negotiated pricing.
from the date of purchase, ACN shall repurchase the Team Trainer Kit, (at a cost of $50.00), provided that the Team
                                                                                                                     16. I agree to indemnify and hold ACN, the ACN Providers and their respective shareholders, directors, officers and
Trainer Kit is returned to ACN in re-useable condition.
                                                                                                                     employees harmless from any and all claims, damages, and expenses, including any attorney’s fees, arising out
5. I acknowledge that as an IBO, I am not guaranteed any income nor am I assured any profits or success, and I       of my actions or omissions in connection with this Agreement. In the event of a dispute between me and ACN as
certify that no claims of guaranteed profits or representations of expected earnings that might result from my       to our respective rights, duties and obligations arising out of or relating to this Agreement, it is agreed that such
efforts as an IBO have been made by ACN or my sponsor. Similarly, I shall not represent directly or indirectly that  disputes shall be exclusively resolved through binding arbitration before the American Arbitration Association
any person may, can, or will earn any stated amount or that any IBOs are guaranteed success.                         pursuant to the Commercial Rules of Arbitration. The arbitration shall be held in Charlotte, North Carolina before
                                                                                                                     a panel of three arbitrators, each side choosing one and then the two choosing the third. All claims hereunder
6. I understand that the ACN Products and Services are offered in different markets on terms and at rates
                                                                                                                     must be brought within two (2) years of the date on which the facts or circumstances giving rise to the claim
determined by ACN or ACN Providers, and that the markets where the services are offered and the terms and
                                                                                                                     are alleged to have happened. The laws of the state of North Carolina will apply to the resolution of the dispute
conditions or prices thereof may change from time to time without notice.
                                                                                                                     unless otherwise agreed in writing. The award of the arbitrator shall be final and may be entered in any court of
7. This Agreement shall become effective upon acceptance by ACN and continue for an initial term of one (1) year     competent jurisdiction. This provision shall not restrict ACN from seeking preliminary or permanent injunctive
unless sooner terminated as permitted herein. My relationship with ACN may be extended for additional one year       relief in any court of competent jurisdiction.
periods by my agreement to the then current ACN IBO US Terms and Conditions, and payment of ACN’s annual
                                                                                                                     17. I acknowledge that ACN fully reserves its right to amend this Agreement at any time by notifying me of
renewal fee no later than 30 days after each Agreement anniversary date. The annual fee is for services provided
                                                                                                                     the changes, including by posting the revisions on the ACN website (www.acninc.com). Any changes to this
by ACN which include but are not limited to tracking of personal customers, tracking of downline IBOs and support
                                                                                                                     Agreement made by ACN may apply: (1) upon the date of execution or posting of the amended Agreement on the
services, including but not limited to hosting of an IBO’s acndirect website, materials and training information
                                                                                                                     ACN website, or (2) prospectively to some specified date in the amendment. Any such changes are incorporated
on the IBO Back Office, and access to the IBO support call center. I understand that failure to renew within the
                                                                                                                     as part of this Agreement. No amendment shall apply retroactively. This Agreement, including the US Terms and
specified time frame shall result in termination of this Agreement and my relationship with ACN and deactivation
                                                                                                                     Conditions, the ACN Policies and Procedures and the ACN Compensation Plan which have been incorporated herein
of my IBO position, and shall result in the forfeiture of bonuses, commissions or other payments from ACN.
                                                                                                                     by reference, constitutes the entire agreement between the parties hereto and shall not be modified or amended
However, those rights and obligations which by their nature are intended to survive termination of this Agreement
                                                                                                                     except as described herein. In the event of a conflict between the US Terms and Conditions and the ACN Policies
shall survive, including without limitation the provisions governing dispute resolution, indemnification, non-
                                                                                                                     and Procedures or the ACN Compensation Plan, the US Terms and Conditions shall control. For purposes of this
solicitation, confidentiality, and account maintenance fees.
                                                                                                                     Agreement, my address as submitted by me with this Agreement shall be deemed to be my correct address unless
8. I understand that there is a fee to process all ACN Payments. I agree that any payments made to me by ACN         and until notification of a change of address is provided by me to ACN.
that remain unclaimed by me after six (6) months shall be held in an account that is subject to an account
                                                                                                                     18. This Agreement shall be governed by the laws of the state of North Carolina. I understand that I may not
maintenance fee of $10 per month (the “Account Maintenance Fee”) which shall be deducted by ACN monthly.
                                                                                                                     assign this Agreement without the prior written consent of ACN, which may be withheld, conditioned, or delayed
If there are insufficient funds owed me from which to deduct the monthly Account Maintenance Fee when due,
                                                                                                                     in ACN’s sole discretion. This Agreement shall be binding upon and inure to the benefit of heirs, successors and
and I do not otherwise pay the Account Maintenance Fee, then the Account Maintenance Fee shall be prorated
                                                                                                                     permitted assigns of the parties hereto. If any provision of this Agreement is determined by any authority of
to reflect the amount of funds remaining and the account shall remain open for an equally prorated amount of
                                                                                                                     competent jurisdiction to be invalid or unenforceable in part or in whole for any reason whatsoever, the validity
time. When no unclaimed amounts are owed to me by ACN the account shall be closed. I further acknowledge
                                                                                                                     of the remaining provisions or portions thereof shall not be affected thereby and such authority should reform
that unclaimed amounts owed to me may be subject to applicable escheat laws which may require ACN to deliver
                                                                                                                     this Agreement to the extent necessary to render the otherwise unenforceable provision or portion thereof valid
unclaimed funds to the state.
                                                                                                                     and enforceable.
9. In the process of selling or otherwise promoting the ACN Products and Services, I agree that I will operate in
                                                                                                                     19. I acknowledge that I may receive proprietary and confidential data or information of ACN and/or ACN
a lawful, ethical and moral manner and I agree to make no false or misleading statements regarding the ACN
                                                                                                                     Provider(s) which is not publicly known or available to the competitors of ACN or ACN Providers, including but not
Products and Services or about the various relationships between ACN, the ACN Provider(s) and me.
                                                                                                                     limited to information about ACN Products and Services, customers, and IBOs (“Confidential Information”), and I
10. I understand that during any investigation by ACN with respect to my breach of this Agreement or my conduct      agree that I shall treat such Confidential Information as strictly confidential and that I may not, directly or indirectly
as an IBO, my IBO position status may be suspended by ACN and any ACN Payments which may be otherwise owing          use, sell, lend, lease, distribute, license, give, transfer, disclose, disseminate, reproduce or otherwise communicate
to me shall be held until final resolution has been achieved. I acknowledge that in the event ACN determines that    any such Confidential Information to any person or entity for any purpose other than as authorized by ACN in
I have violated this Agreement, including the ACN Policies and Procedures or the ACN Compensation Plan, ACN          writing. I represent and warrant that I will comply with all ACN policies and procedures relating to confidential
may terminate this Agreement and deactivate my IBO position, in which event I will not be entitled to any ACN        and proprietary information, and I agree that all prohibitions against disclosure of Confidential Information shall
Payments or further commissions or compensation of any kind.                                                         survive the termination of this Agreement.
11. I agree to keep accurate records and shall not engage in or perform any misleading, deceptive or unethical             20. During the term of this Agreement, I agree that I shall not, directly or indirectly, sell or solicit customers
practices. I further agree to abide by all federal, state and local laws and regulations governing the sale or             for products or services offered by ACN through any person or entity other than that specifically designated or
solicitation of the products and services marketed by ACN and/or the ACN Provider(s), including but not limited            approved in writing by ACN. I agree that I shall not, during the term of this Agreement and for a period of one
to, obtaining and maintaining any and all permits and licenses required to perform under this Agreement and I              (1) year thereafter, directly or indirectly, divert, entice, knowingly call upon, sell or solicit, take away or move
understand that I will be personally liable for any fines and other expenses incurred by ACN as a result of any failure    any customer of ACN or any ACN Provider, whether or not I originally procured or brought such customer to ACN
to do so. I specifically represent and warrant that I shall not engage in the slamming of a customer.                      (such activities are collectively referred to and included herein as ‘solicitation’). All customers solicited by an IBO
12. IN NO EVENT WILL ACN OR ANY ACN PROVIDERS BE LIABLE FOR ANY INDIRECT, CONSEQUENTIAL, SPECIAL,                          on behalf of ACN and ACN Providers are deemed to be customers of ACN or the ACN Provider and not of the IBO. I
PUNITIVE, OR INCIDENTAL DAMAGES, (INCLUDING DAMAGES FOR LOSS OF BUSINESS PROFITS, BUSINESS                                 understand that such non solicitation prohibition shall be strictly enforced and that each ACN Provider shall be a
INTERRUPTION, AND THE LIKE), ARISING OUT OF ANY CAUSE, INCLUDING BUT NOT LIMITED TO, BREACH OF                             third party beneficiary of this prohibition. Further, during the term of the Agreement and for a period of one (1)
WARRANTY OR THE DELAY, ACT, ERROR OR OMISSION OF ACN OR ANY ACN PROVIDER, OR THE DELIVERY,                                 year thereafter, I may not enter into a direct marketing relationship with any ACN Provider. During the term of
NONDELIVERY, DISCONTINUATION, OR MODIFICATION OFANY PRODUCT OR SERVICE BY ACN OR ANY ACN PROVIDER,                         this Agreement and for a period of one (1) year thereafter, I may not solicit an ACN IBO, whether active, inactive,
EVEN IF ACN HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.                                                           individual or entity, to participate in a network marketing program offered by any other company. Without
                                                                                                                           limiting in any way ACN’s right to pursue all rights and remedies available to it, violation of this covenant and
                                                                                                                           condition will result in, but is not limited to, forfeiture of all rights in any IBO position and ACN Payments, including
                                                                                                                           all current and future commissions, bonuses and payments of any kind.
                                                                                                                                                                                                ACN Opportunity, LLC 2013 US_IBO_RP_W_011513
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